                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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                                          )
CAPE LIFE BRAND COMPANY, LLC,             )
                                          )
            Plaintiff,                    )
                                          )
                                          ) CIVIL ACTION NO. 1:21-cv-11256-IT
v.                                        )
                                          )
CAPE LIFE GIFTS INC.                      )
                                          )
            Defendant.                    )
__________________________________________)


                                 NOTICE OF WITHDRAWAL

       Pursuant to Local Rule 83.5.2(c), the undersigned counsel requests that this Court
withdraw my appearance in behalf of the Plaintiff/Defendant in Counterclaim, Cape Life Brand
Company, and directs this Court to the Notice of Appearance filed by successor counsel at
Docket Entry 11 on equal date.



                                                    Respectfully submitted,

       September 22, 2021                           /s/ Lucas B. McArdle_____
                                                    Lucas B. McArdle BBO # 694285
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                                CERTIFICATE OF SERVICE

I certify that on September 22, 2021, I served a copy of the foregoing on all attorneys of record
via the CM/ECF system.

                                                     /s/ Lucas B. McArdle_____
                                                     Lucas B. McArdle




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